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09/27/06 M. Levinson Review and interlineate comments to the 2.20 1,232.00

draft response to the USACM unsecured
creditors committee reallocation objection
(.30); review and revise the email
memorandum to A. Landis responding to
his objections to Orrick’s June and July fee
submissions (.10); telephone conversation
with E. Karasik re tomorrow's fee hearings
(.10); review J. Hermann comments to the
draft response to the USACM unsecured
creditors committee reallocation objection
and interlineate additional comments to
that draft (.30); telephone conversation
with A. Loraditch in preparation for
tomorrow's hearing generally and the
USACM unsecured creditors committee
reallocation objection in particular (.20);
telephone conversation with M. Tucker
and J. Hermann re USACM unsecured
creditors committee reallocation objection
and the A. Jarvis email memorandum re
possible settlement of the same (.20);
review pleadings and otherwise prepare
for tomorrow's hearing on the fee
applications (.60); portion of long
telephone conversation with A. Jarvis —
devoted to discussion of issues that relate
tomorrow's fee application and objection
hearing (.20); further preparation for
tomorrow's hearing (20).
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09/27/06 L. Ernce Continue drafting and revising Diversified 2.90 1,348.50

Committee's response to USACM
unsecured creditors committee's attempts
to shift fees from USA Commercial estate
to Diversified estate by way of objection
to fee applications of debtors’
professionals (.80); review M. Levinson
comments and revise same (.20);
telephone conference with A. Loraditch
and R. Olson re status and strategy of draft
response (.20); email to Diversified
professionals re next version of objection
and telephone conference with J. Hermann
re strategy issues (.20); further revise draft
response per discussion with J. Hermann
(.30); conference with M. Levinson re
same (.10); revise draft and email to J.
Hermann and M. Levinson (.20); review J.
Hermann's redlined comments and
changes and conference with M. Levinson
re same (.20); revise and finalize response
to USACM unsecured creditors
committee's pleading (.20); emails to A.
Loraditch re same and review A.
Loraditch comments (.10); exchange
emails with Nevada counsel's office re
status of filing of response and review
final (.10); attention to organizing
materials for tomorrow's hearing on fee
applications and objections (.30).

09/27/06 L. Emce Draft and revise email to A. Landis 1.10 511.50
responding to U.S. Trustee's objections to
Orrick's fees (.20); email to M. Levinson
and J. Hermann re status (.10); review
revisions to draft email from M. Levinson
and J. Hermann (.10); revise and finalize
email to A. Landis and attachments
showing modifications to time entries
(.20); review objection to fee applications
filed by counsel for J. Milanowski and
exchange emails with J. Hermann re same
(.20); telephone conference with A.
Loraditch re same and review M. Tucker
email re same (.10); email to J. Hermann
re U.S. Trustee fee guidelines (.10);
exchange emails with J. Hermann re
August fee statement and possible
modifications (.10).
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09/27/06 J. Hermann Revision of response to objection of U.S. 0.20 114.00
Trustee.
09/27/06 J. Hermann Review and revise Diversified Fund 0.60 342.00
committee response to USACM unsecured
creditors committee objection to fee
application of unsecured creditors
committee professionals by which
USACM unsecured creditors committee
seeks to have almost $1.3mm of unsecured
creditors committee fees paid by
Diversified Fund.
09/28/06 M. Levinson Conference with S. Freeman re the 0.70 392.00

USACM unsecured creditors committee's
objection to the allocation of fees by the
debtors’ professionals (.20); pre-hearing
conferences in the courthouse re the same
with S. Freeman, A. Jarvis, G. Gordon, T.
Burr and others (.30); conferences re the
allocation issue with numerous estate
professionals including F. Merola, S.
Freeman and A. Jarvis prior to resumption
of the afternoon hearing (.20).

09/28/06 L. Ermce Telephone conference with M. Levinson 0.20 93.00
in advance of today's hearing on Orrick's
fee application and US Trustee's
objections thereto regarding certain
expense detail (.10); telephone conference
with billing coordinator re question about
expense detail and email to M. Levinson
re same (.10).

09/29/06 M. Levinson Telephone conversation with E. Karasik 0.20 112.00
yesterday's hearing on the fee objections
and re fashioning the order apportioning
the fees for the debtors’ professionals
among USACM and the funds.

B170 — Fee/Employment Objections Total 28.70 14,651.00

Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 15.60 465.00 7,254.00
Jeffery D. Hermann 6.10 570.00 3,477.00
Marc A. Levinson 7.00 560.00 3,920.00

Total All Timekeepers 28.70 $510.49 $14,651.00
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Task B310— Claims Administration and Objections

09/01/06 M. Levinson Review a series of C. Carlyon and L. 0.30 168.00
Schwartzer email memoranda re the bar
date, the filing of proofs of claim and
related matters (.10); review the draft bar
date order circulated by L. Schwartzer, the
proposed revised version circulated by C.
Carlyon and email memoranda re the same
from L. Schwartzer, C. Carlyon and A.
Loraditch (.20).
09/02/06 M. Levinson Email memorandum to estate 0.20 112.00
professionals re my comments on the draft
bar order and re related matters (.10);
exchange follow-up email memoranda
with S. Strong re the same and re the form
of proofs of claim and interest (.10).
09/05/06 M. Levinson Review the chain of email memoranda 0.20 112.00
from L. Dorsey, A. Loraditch, C. Carlyon
and S. Freeman re the form of order
setting the bar date.
09/05/06 L. Ermce Review and comment upon draft order 0.70 325.50
setting deadline to file proofs of claim and
proofs of interest; review A. Loraditch
email signing off on same (.20); review
emailed comments from S. Freeman and
C. Carlyon and L. Schwartzer (.20);
review revised version (.10); review C.
Carlyon email re draft instructions for
filing proofs of claim and interest (.20).
09/11/06 M. Levinson Review L. Ernce email memoranda re 0.20 112.00
draft proofs of claim and proofs of interest
and conference with L. Ernce re the same.
09/11/06 L. Ernce Conference with M. Levinson re proof of 1.20 558.00
interest issues and review A. Tsu email
and forms of proof of claim/proof of
interest and instructions (.30); review and
revise draft forms and instructions (.40);
email to C. Carlyon re same and telephone
conference with C. Carlyon re same (.20);
review email from C. Carlyon with joint
comments of First Trust Committee and
Diversified Committee to forms of proofs
of claim/proofs of interest and instructions
(.10); further emails with C. Carlyon and
A. Tsu re same (.20).

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09/12/06 M. Levinson Review L. Schwartzer, C. Carlyon and L. 0.10 56.00

Ernce email memoranda re proofs of claim
and proofs of interest.
09/12/06 L. Emce Further telephone conferences with C. 1.40 651.00
Carlyon and A. Tsu re form of proof of
interest form and instructions (.30); review
next version of form and instructions
(.10); review C. Carlyon email re same
and review L. Schwartzer responses (.10);
further revisions to form and instructions
and email to A. Tsu re same (.20); review
and comment upon draft stipulation for
allowance of proofs of interest (.20);
review L. Schwartzer email responding to
same (.10); exchange emails with A. Tsu
(.10); review emails to J. Miller at BMC re
agreed-upon modifications (.10);
exchange emails with M. Levinson re
status (.10); review and sign off on final
version of stipulation (.10).
09/14/06 M. Levinson Exchange of email memoranda with A. 0.10 56.00
Loraditch and L. Ernce re objecting to
claims filed in the Diversified case.
09/14/06 L. Ernce Review order on First Trust Committee's 0.30 139.50
objection to reclassify certain claims as
equity interests (.10); exchange emails
with A. Loraditch and M. Levinson re
filing similar objection on behalf of
Diversified Committee (.10); review order
setting deadline to object to proofs of
claim and attention to updating Diversified
Committee's website with information
(.10).
09/15/06 M. Levinson Review and analyze the lengthy L. Ernce 0.20 112.00
email memorandum re the First Trust
Committee motion for access to the list of
its investors and the possible need for the
Diversified Committee to do the same.
09/15/06 L. Ernce Review signed stipulated order re filing of 0.20 93.00
proofs of interest; email to Diversified
Committee professionals re same; update
Diversified Committee website to include
information.
09/19/06 L. Ernce Review Diversified Committee's objection 0.50 232.50
to High Prospect Income Fund claim (.30);
email to Diversified Committee members
re same and update Diversified Committee
website to include pleadings (.20).
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09/26/06 M. Levinson Review S. Katz, L. Ernce, M. Tucker and
C. Harvick email memoranda relating to

proofs of interest.

B310— Claims Administration and Objections Total

Timekeeper Summary

Hours Rate Amount
Lynn T. Ernce 4.30 465.00 1,999.50
Marc A. Levinson 1.40 560.00 784.00
Total All Timekeepers 5.70 $488.33 $2,783.50

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0.10 56.00

3.70 2,783.50
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Task B320— Plan and Disclosure Statement (including Business Plan)

09/01/06 M. Levinson Portion of long telephone conversation 1.60 896.00
with J. Hermann devoted to plan status
and issues (.10); review and analyze the
lengthy R. Charles email memorandum to
T. Allison rejecting the most recent
proposal from Plan Proponent No. 2 and
review the brief E. Karasik email
memorandum re the same (30); telephone
conversation with A. Loraditch re plan
negotiations and next steps to enable her
to talk to Plan Proponent No. 4 (.30); long
telephone conversation with R. Charles,
with M. Tucker, re R. Charles's
conversation with S. Khan and D. Cooney
re the most recent proposal from Plan
Proponent No. 2 (.50); initial review of the
new proposal from Plan Proponent No. 1
and the J. Hermann email memorandum re
the same (.30); review R. Charles and S.
Kahn email memoranda re next steps with
respect to the unsecured creditors
committee response to Plan Proponent No.
1 (10).
09/01/06 L. Emce Review latest plan proposal from Plan 0.60 279.00
Proponent No. 2; review exchanges of
emails among Diversified Committee
professionals re same.
09/01/06 J. Hermann Further review and analyze debtors draft 2.00 1,140.00
plan of reorganization (.90) and consider
and analyze issues raised by the same
(.20); review and analyze further offer
received from Plan Proponent No. 2
noting differing treatment of Diversified
Fund loans (.50); participate in exchange
of email correspondence regarding the
same (.20); review and analyze R. Charles
analysis of the same (.20).
09/01/06 L. Ernce Review multiple exchanges of emails on 1.00 465.00
offer from Plan Proponent No. 2.
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09/02/06 M. Levinson ~ Review the R. Charles email 0.60 336.00

memorandum to S. Kahn re his response
to the most recent draft of the Plan
Proponent No. 2 letter of intent, review the
revised draft agreement and send follow-
up email memoranda to R. Charles and to
the Diversified Fund professional (.40);
review the responsive email memoranda
from S. Khan and A. Jarvis and analysis re
next steps in light of the same (.20).
09/03/06 M. Levinson Email memorandum to R. Charles in 0.80 448.00
response to a suggestion by A. Jarvis
about the proposal by Plan Proponent No.
2 and email memorandum to all hands re a
call later today or tomorrow about the
proposal (.20); review and analyze both
the lengthy J. Gordon email memorandum
raising issues about the transfer of the loan
servicing agreements and the A. Jarvis
email memorandum in response thereto
(.20); review brief F. Merola follow-up
email memorandum and email the
Diversified Fund professionals re the
foregoing (.10); exchange a long series of
numerous email memoranda with various
estate professionals and with Plan
Proponent No. 2 re arranging various
conference calls for tomorrow (.30).
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09/04/06 M. Levinson Review R. Charles and S. Kahn email 4.70 2,632.00
memoranda re the most recent discussions
about the proposal from Plan Proponent
No. 2 (.20); telephone conversation with
M. Tucker re the same (.30); telephone
conversation with R. Charles, S. Freeman,
D. Walker, T. Burr and M. Tucker in
preparation for the conversations later
today, and, during the call, exchange email
memoranda with many of the estate
professionals re the follow-up calls and
skim the September 3rd draft proposal
from Plan Proponent No. 2, forwarded this
morning by R. Charles (.50); long
conference among all estate professionals
re the proposal from and responding to
Plan Proponent No. 2 (1.00); further
review of the September 3rd draft
proposal (.50); review the next draft, as
revised by R. Charles (.30); long
telephone conversation re the same and re
next steps with R. Charles, S. Freeman
and D. Walker (.80); telephone
conversation with M. Tucker re the same
and re next steps (.20); draft, revise and
finalize an email memorandum to all
hands re comments to the break-up fees
portion of the term sheet (after re-
reviewing portions of the current draft)
(.30); review a series of follow-up email
memoranda from S. Freeman, R. Charles,
C. Pajak and A. Jarvis re new drafts of the
Plan Proponent No. 2 proposal (.20);
initial review of the draft circulated by S.
Freeman in the late afternoon (.20); review
and analyze email memoranda from J.
Hermann re plan issues and re the Plan
Proponent No. 2 proposal (.20).

09/04/06 L. Emce Review First Trust Committee's response 0.20 93.00
to term sheet of Plan Proponent No. 2.

09/05/06 L. Ernce Telephone conference with R. Worthen, 0.30 139.50
M. Levinson and M. Tucker re plan issues,
status of discussions with J. Milanowski
and related matters.
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09/05/06 M. Levinson Review various of the suggested revised 5.40 3,024.00

versions of the proposal submitted by Plan
Proponent No. 2 (.40); review and respond
to an email memorandum from T. Burr re
the inclusion of two loans on the proposed
Exhibit B1 to the response to Plan
Proponent No. 2 (.20); telephone
conversation with M. Tucker and L. Ernce
re the status of the proposal from Plan
Proponent No. 2 and re related plan issues
(.10); telephone conversation with J.
Hermann re plan matters (.10); review
proposal from a potential loan servicer and
forward the same to M. Tucker (.10);
telephone conversation with M. Tucker re
plan matters (.20) further review of
revised versions of the draft Plan
Proponent No. 2 proposal circulated by G.
Garman, C. Pajak and A. Jarvis (.80);
review S. Freeman email memorandum
commenting on the loan servicing aspect
of the proposal (.10); begin reviewing the
revised version of the plan term sheet
circulated by E. Karasik (.20); long all-
hands call with the four committees and
the debtors re the foregoing and re next
steps (1.40); follow-up conversation with
M. Tucker re the same and re his call
earlier this afternoon with B. Fasel (.40);
review and respond to E. Karasik proposal
re the handling of break-up fees and
expense reimbursement and review and
respond to the A. Jarvis and E. Karasik
follow-up email memoranda re the same
(.20); review the next draft of the draft
Plan Proponent No. 2 proposal, as
circulated tonight by A. Jarvis, review the
E. Karasik and C. Pajak emails containing
comments thereto and send a lengthy
email memorandum containing my
comments to all hands (1.20).

09/05/06 L. Ernce Telephone conference with M. Levinson 0.10 46.50
and M. Tucker re issues related to
proposal by Plan Proponent No. 2.
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09/05/06 J. Hermann Review and analysis revised Plan 2.40 1,368.00
Proponent No. 2 offer letter (.30); review
and analyze extensive email
correspondence among professionals for
all committees and debtors regarding Plan
Proponent No. 2 revised offer letter,
difficulty in effecting legally enforceable
transfer of servicing rights, reactions to the
same from different constituencies and
general comments upon the same (.60);
participate in exchange of email
correspondence among Diversified Fund
committee professionals regarding the
same (.30); consider and analyze issues -
bearing upon transfer of servicing rights
(.30); review and analyze revised version
of joint plan of reorganization term sheet
(.30) and participate in exchange of email
correspondence with Diversified Fund
professionals regarding the same (.20) and
telephone conference with Diversified
Fund professionals regarding the same
(.40).

09/05/06 L. Ernce Review multiple exchanges of emails and 1.30 604.50
versions of term sheet from Plan
Proponent No. 2.
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09/06/06 M. Levinson Review the exchange of R. Charles and B. 3.70 2,072.00
Fasel email memoranda re the status of
discussions with Plan Proponent No. 1
(.10); review lengthy E. Karasik email
memorandum containing her comments to
my comments to last night's draft proposal
(.10); exchange a series of brief email
memoranda with S. Strong and others re
the status of the new version of the Plan
Proponent No. 2 proposal (.10); begin
reviewing this morning's version thereof
(.30); telephone conversation with E.
Karasik re the same and re plan issues
(.20); telephone conversation with M.
Tucker re the same and re his conversation
with T. Allison late this morning re the
proposal and related matters (.30); review
the G. Garman email memorandum re the
position of the direct lenders on the
proposal and analysis re next steps in light
of the same (.10); conference call among
the four committees and the debtors re
plan matters and the Plan Proponent No. 2
proposal (.50); continue the conference
call with the four committees and the
debtors, having been joined by
representative of Plan Proponent No. 2
(.60); review F. Merola email
memorandum to S. Freeman re several
term sheet points (.10); follow-up
conversation with S. Freeman (.20);
follow-up conversation with J. Hermann
(.20); portion of a long telephone
conversation with M. Tucker and C.
Harvick re the all-hands call with Plan
Proponent No. 2, re their call this
afternoon with another plan proponent and
re many other plan issues (.50); follow-up
telephone conversation with S. Freeman re
plan proposal issues (.20); review A.
Jarvis, S. Strong, S. Freeman and E.
Karasik email memoranda re tonight's
draft of the Plan Proponent No. 2
proposal (.20).

09/06/06 L. Ernce Review multiple email exchanges re offer 1.00 465.00
and next versions from Plan Proponent
No. 2.
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09/06/06 J. Hermann Telephone conference with M. Levinson 1.50 855.00
regarding ongoing negotiations on plan of
reorganization and related matters (.20);
review and analyze further draft of offer
letter from Plan Proponent No. 2 (.30) and
email correspondence regarding the same
(.10); prepare inventory of plan of
reorganization issues important to
Diversified Committee which need to be
included within plan of reorganization
(.90).
09/07/06 M. Levinson Review last night's version of the Plan 2.80 1,568.00

Proponent No. 2 proposal, as revised by
A. Jarvis last night, review the S. Freeman
comments thereto, review C. Harvick
email memorandum re Exhibit B1,
interlineate comments and email the same
to all hands (1.20); review email
memoranda from E. Karasik, S. Freeman
and A. Jarvis re the new proposal (.20);
portion of follow-up conversation with M.
Tucker and J. Hermann devoted to the
foregoing (.30); review the revised version
of the proposal emailed by S. Strong to
Plan Proponent No. 2 (.20); review S.
Freeman email memorandum containing
the USACM committee's payoff number
and the E. Karasik email memorandum in
response thereto (.10); exchange brief
follow-up email memoranda with S.
Strong re Exhibit B1 thereto and review
his email to Plan Proponent No. 2 with a
revised Exhibit B1 (.20); telephone
conversation with A. Loraditch re the
status of various plan proposals so as to
better prepare her to talk with Plan
Proponent No. 4 (.20); review S. Strong
email memorandum re the transmission of
the proposal to Plan Proponent No. 2, re
its initial reaction thereto and re an all-
hands call tomorrow morning (.10);
review A. Jarvis email memorandum
covering the transmission of the revised
proposal forwarded tonight by Plan
Proponent No. 2 (.10) begin reviewing the
new proposal from Plan Proponent No. 2
received tonight (.20).
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09/07/06 J. Hermann Telephone conference with M. Tucker and 1.60 912.00
M. Levinson regarding plan of
reorganization issues (portion) (.10);
telephone conference with M. Levinson
regarding plan of reorganization issues
(.10); review and analyze markups and
redlines of Plan Proponent No. 2
transaction documents (.60); participate in
exchange of email correspondence with
Diversified Committee professionals
regarding the same (.20); participate in
exchange of email correspondence with all
committee professionals and debtor
professionals regarding the same (.60).
09/07/06 L. Ernce Review exchanges of emails re status of 0.30 139.50
letter from Plan Proponent No. 2.
09/07/06 L. Ernce Review email from A. Loraditch re Plan 0.10 46.50
Proponent No. 4 will present letter of
intent and timing issues.
09/07/06 L. Ernce Review email from M. Levinson reporting 0.10 46.50
on status and latest discussions of Plan
Proponent No. 2 deal.
09/08/06 M. Levinson Portion of long telephone conversation 2.70 1,512.00
with M. Tucker and C. Harvick devoted to .
plan issues (.20); long all-hands
conference call re the versions of the new
proposal from Plan Proponent No. 2
received late night and this morning, and
review those drafts during the call (1.70);
review B. Higgins suggested insert to the
new proposal (.10); review C. Pajak email
containing comments on the new draft of
the proposal (.10); portion of a long
telephone conversation with R. Charles
and J. Hermann devoted to the foregoing
(.60).
09/08/06 J. Hermann Telephone conference with M. Tucker, C. 2.10 1,197.00
Harvick and M. Levinson regarding
ongoing negotiations on Plan Proponent
No. 2 purchase and plan of reorganization
issues (.40); participate in conference call
with all committee professionals and
debtor professionals regarding issues with
Plan Proponent No. 2 proposal (1.20);
further review and analyze the same (.20);
participate in exchange of email
correspondence with all committee
professionals and debtor professionals
regarding the same (.30).
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09/08/06 L. Ernce Review email from A. Jarvis re offer 0.50 232.50

issues re Plan Proponent No. 2 (.10);
review S. Strong email with blackline of
letter (.10); review multiple exchanges of
emails re Plan Proponent No. 2 offer and
exhibits from B. Higgins, A. Jarvis, C.
Pajak; R. Charles and others (.30).

09/10/06 M. Levinson Review exchange of email memoranda 0.10 56.00
between E. Karasik and A. Jarvis re the
timing relating to the next draft of the
proposal from Plan Proponent No. 2.

09/11/06 M. Levinson Review and analyze the revised portions 1.50 840.00
of yesterday's version of the proposal
forwarded by Plan Proponent No. 2 (.30);
portion of a telephone conversation with
M. Tucker devoted to the same (.10);
portion of the all-hands call devoted to
plan issues and to the Plan Proponent No.
2 proposal (.60); review and analyze the
revised portions of this afternoon's version
of the proposal, as modified by A. Jarvis,
and review the C. Pajak proposed
revisions thereto (.30); email
memorandum to all hands re my
comments to the foregoing (.20).

09/11/06 J. Hermann Participate in conference call with debtors 0.90 513.00
and all four committees regarding latest
version of asset purchase letter of intent,
plan of reorganization issues and
numerous related issues.

09/11/06 L. Emce Review E. Karasik email re issues related 0.90 418.50
to latest draft of proposal from Plan
Proponent No. 2 (.10); review A. Jarvis
email re draft exhibits to proposal and
review portions of drafts (.20); review
further exchanges of emails re proposal
from Plan Proponent No. 2 from E.
Karasik and A. Jarvis (.10); review A.
Jarvis email and next version of offer
letter (.20); review First Trust Committee's
next version of offer letter (.10); review
M. Levinson email re comments to First
Trust Committee's revisions (.10); review
A. Jarvis email and signed letter with
blackline showing final changes (.10).
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09/11/06 J. Hermann Review and analyze further drafts of deal 0.40 228.00

document from Pian Proponent No. 2 (.20)
and emails from all committee counsel
and debtor counsel regarding issues in
connection with the same (.20).
09/12/06 .J. Hermann Review and revise proposed 0.20 114.00
communication with Diversified
Committee in connection with proposed
sale of assets and related plan of
reorganization.
09/12/06 J. Hermann Consider and analyze issues raised in term 1.40 798.00
sheet of plan being circulated and further
prepare list of Diversified Fund
considerations and issues for any plan of
reorganization and review and analyze file
materials in connection with the same.
09/12/06 M. Levinson Review last night's version of the proposal 3.80 2,128.00
from Plan Proponent No. 2 and various
email memoranda from A. Jarvis and
others re the same (.60); telephone
conversation with M. Tucker re the same
and re next steps (.10); continue reviewing
and interlineating comments to the draft
plan term sheet circulated by E. Karasik
on September 5th (.40); telephone
conversation with S. Freeman and R.
Charles re the same and the proposal from
Plan Proponent No. 2 (.30) portion of the
very long all-hands call devoted to the
proposal from Plan Proponent No. 2 and
the draft plan term sheet (2.20); initial
review of the next draft circulated by E.
Karasik (.20).
09/12/06 L. Ernce Review email from E. Karasik re First 0.70 325.50
Trust Committee's acceptance of latest
version of Plan Proponent No. 2 proposal
and review latest version of proposal (.20);
review A. Jarvis email requesting status
and M. Levinson response (.10); review
next version of joint plan term sheet (.20);
review final version of Plan Proponent No.
2 offer letter (.20).
09/12/06 L. Emce Review and analyze latest term sheet 0.50 232.50
(.40); review J. Hermann comments and
proposed changes (.10).
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09/13/06 J. Hermann Consider and analyze issues in connection 0.80 456.00

with means of confirming plan of
reorganization providing for release or
forbearance of principal in exchange for
contributed assets and review and analyze
source materials bearing upon the same. —

09/13/06 J. Hermann Review and analyze new draft term sheet 0.40 228.00
for plan of reorganization and consider
and analyze issues raised therein.

09/13/06 M. Levinson Exchange a series of email memoranda 1.00 560.00
with M. Tucker and J. Hermann re certain
plan issues related to USACM (.20); long
telephone conversation with J. Hermann
and M. Tucker re plan and term sheet
issues (.30); initial review of the plan term
sheet circulated by E. Karasik (.20); email
memorandum to S. Freeman re an aspect
of the insider guaranty aspect of the term
sheet (.10); exchange a series of email
memoranda with R. Charles, A. Jarvis and
others re scheduling a meeting among
certain constituencies to discuss plan
issues (.10); review B. Fasel, T. Burr and
M. Tucker email memoranda re the
selection of Plan Proponent No. 2 as the
stalking horse bidder (.10).

09/13/06 L. Ernce Exchange emails with M. Levinson re plan 0.10 46.50
and exclusivity issues.
09/14/06 J. Hermann Telephone conference with M. Tucker, 1.40 798.00

and for a portion of the call, M. Levinson,
regarding plan of reorganization issues
and other matters in preparation for
conference call on the same.
09/14/06 J. Hermann Review and revise checklist of Diversified 0.80 456.00
Fund issues in plan of reorganization and
confirmation and negotiation issues and
review and analyze file materials in
connection with the same.
09/14/06 J. Hermann Participate in conference call with debtor 2.10 1,197.00
representatives, unsecured creditors
committee representatives and Diversified
Committee representatives regarding plan
of reorganization issues, progress in
ongoing negotiations, and numerous
related matters.
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09/14/06 J. Hermann Review and revise multiple redrafts of
plan of reorganization term sheet, draft
insert to the same dealing with First Trust
Deed contribution to Diversified Fund,
and participate in exchange of email
correspondence regarding the same.

09/14/06 J. Hermann Telephone conference with M. Tucker and
M. Levinson (portion of call) regarding
results of plan negotiations throughout the
day and numerous related issues.

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3.40 1,938.00

0.90 513.00
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09/14/06 M. Levinson Telephone conversation with M. Tucker 4.20 2,352.00

and J. Hermann re possible revisions to
the plan term sheet circulated by E.
Karasik (.30); review S. Freeman email
memorandum with comments to the term
sheet (.10); review two lengthy J.
Hermann email memoranda re his
comments to the term sheet (.20); review
the exchange of follow-up emails between
T. Burr and J. Hermann (:10); participate
in a long portion of a very long conference
call re the same with A. Jarvis, R. Charles,
M. Tucker and J. Hermann (.80); initial
review the R. Charles re-draft of the plan
term sheet (.30); email memorandum to R.
Charles and other re my preliminary
comments to the same (.20); several
follow-up conversations with M. Tucker
and J. Hermann (.30); review J. Hermann
re-draft of certain of the provisions of the
R. Charles draft term sheet and exchange a
series of follow-up email memoranda with
J. Hermann and R. Charles re the same
(.30); conference with J. Chubb re
Fertitta's concerns about the treatment of
one of the Colt loans in the Plan
Proponent No. 2 term sheet and email T.
Allison and M. Tucker re the same during
the course of such conference (.30);
lengthy follow-up email memorandum to
T. Allison and A. Jarvis (.20); exchange
follow-up email memoranda with T.
Allison and M. Tucker (.10); exchange a
series of email memoranda with M.
Tucker and J. Hermann re offset issues
that must be dealt with in the plan (.20);
review more R. Charles, M. Tucker and J.
Hermann email memoranda re term sheet
issues (.20); lengthy end-of-the-day
conversation with J. Hermann and M.
Tucker (for most) re today's developments
and re next steps (.50).
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09/15/06 J. Hermann Participate in conference call involving for 0.90 513.00

different portions, M. Levinson, M.
Tucker, R. Charles, and S. Freeman
regarding FTDF rejection of plan term
sheet and refusal to agree to further
extension of exclusivity and numerous
related issues, including strategy for plan
proposal and confirmation.

09/15/06 J. Hermann Participate in conference call involving for 0.60 342.00
different portions, M. Levinson, A. Jarvis,
S. Freeman and E. Karasik regarding
FTDF rejection of plan term sheet and
refusal to agree to further extension of
exclusivity and numerous related issues.

09/15/06 J. Hermann Consider and analyze email 0.30 171.00
correspondence regarding refusal of FTDF
and Direct Lender committees to agree to
further extension of exclusivity and review
and analyze term sheet for plan issues and
consider and analyze negotiation
alternatives in connection with the same.

09/15/06 J. Hermann Review and analyze secondary authorities 0.80 456.00
and cases on issue of applicability of
California anti-deficiency statutes to
Nevada guaranties of California real estate

loans.

09/15/06 M. Levinson Review two lengthy A. Jarvis email 0.30 168.00
memoranda re the impending expiration of
exclusivity and the possible filing of
alternative plans by the First Trust
Committee and the Direct Lenders
Committee (.20); review the chain of
email memoranda re hearing the
exclusivity motion on shortened time

(10).
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09/15/06 M. Levinson Review lengthy M. Tucker email 2.60 1,456.00

memorandum re the discussion among the
financial advisors about bid procedures
(.20); telephone conversation with A.
Jarvis and J. Hermann re next steps and
also telephone conversation with E.
Karasik, S. Freeman, A. Jarvis and J.
Hermann (.60); long follow-up telephone
conversation with S. Freeman, M. Tucker
and J. Hermann, with R. Charles for large
part (.90); portion of long follow-up
telephone conversation with M. Tucker
and J. Hermann devoted to plan issues
(.70); telephone conversation with R.
Charles re term sheet and plan issues
(.10); review E. Karasik email
memorandum re next steps in the plan
negotiations (.10).

09/15/06 L. Emce . Review emails from M. Tucker re issues 0.50 232.50
related to proposed transaction with Plan
Proponent No. 2 (.10); review debtors'
motion to extend exclusivity period and
exchange emails with M. Levinson re
status of discussions and Diversified
Committee's position on exclusivity issue
(.20); review initial draft of bid procedures
(.20).

09/16/06 M. Levinson Review A. Jarvis email memorandum re 1.80 1,008.00
the filing of the plan and disclosure
statement late last night and re certain plan
provisions in particular and forward the
same to Diversified professionals under
cover of an email memorandum (.20);
review lengthy R. Charles email
memorandum to J. Chubb and R. LePome
re the contemplated transfer of loan
servicing rights to Plan Proponent No. 2
and forward the same to Diversified
professionals (.20); email memorandum to
R. Goe re the filing last night of the plan
and disclosure statement, exchange
follow-up email memoranda with R. Goe
and send a follow-up email memorandum
to M. Tucker (.20); initial review of the
filed plan and disclosure statement (1.20).
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09/17/06 M. Levinson Review and analyze the draft bid 0.90 504.00
procedures circulated by E. Monson
yesterday in connection with the sale to
Plan Proponent No. 2 (.40); further
attention to the filed plan and disclosure
statement (.50).
09/17/06 L. Ernce Review portions of debtors’ plan and 0.80 372.00
disclosure statement.
09/18/06 J. Hermann Review and analyze plan of reorganization 1.40 798.00
filed by debtors to determine treatment of
Diversified Fund.
09/18/06 J. Hermann Prepare additions to memo regarding 1.40 798.00

issues to be dealt with by plan of
reorganization, including issues to be
resolved between the USACM and

- Diversified Fund estates.

09/18/06 M. Levinson Exchange email memoranda with R. Goe 0.80 448.00
re next steps by Plan Proponent No. 5 in
light of the filing of the plan and the Silver
Point proposal (.10); exchange email
memoranda with E. Karasik re status of
the Diversified Committee's review of the
last term sheet (.10); telephone
conversation with M. Tucker and J.
Hermann re plan issues (.20); exchange a
series of email memoranda with R.
Charles and E. Karasik re the approval of
the September 14th plan term sheet by the
unsecured creditors committee and the
Diversified Committee and re E. Karasik's
thoughts about a portion of the term sheet
(.20); review lengthy 8. Freeman email
memorandum re the USACM unsecured
creditors committee's thoughts on the draft
bid procedures (.10); review lengthy C.
Pajak email memorandum and short
follow-up email memorandum containing
the First Trust Committee's comments on
the draft bid procedures (.10).

09/18/06 L. Ernce Review S, Freeman email re bid 0.20 93.00
procedures; review C. Pajak email to A.
Jarvis re same and other outstanding
issues.
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09/19/06 J. Hermann Further telephone conference with M. 0.20 114.00
Tucker and M. Levinson regarding plan of
reorganization issues, issues bearing upon
obtaining J. Milanowski's consent to
obtaining information from T. Ashby,
issues complicating sale of Royal Hotel by
HMA Sales, LLC and related matters.
09/19/06 M. Levinson Portion of long telephone conversation 1.20 672.00
with J. Hermann and M. Tucker re issues
between DTDF and USACM in

preparation for tomorrow's call with
counsel for the unsecured creditors
committee re plan issues (.40); initial
review of a number of email memoranda
re bid procedures (.20); initial review of a
number of email memoranda re the
material adverse changes clause (.10);
conference with L. Ernce re next steps
with respect to each (.20); exchange email
memoranda with A. Loraditch re her
joining tomorrow's all hands call so as to
discuss bid procedures relating to Plan
Proponent No. 5 (.10); review lengthy
late-night email memorandum from A.
Jarvis re her revised version of the MAC,
and brief email memorandum to L. Ernce
re the same (.20).

09/19/06 L. Ernce Review email and review draft material 0.30 139.50
adverse change clause for proposed asset
purchase agreement (.10); review C. Pajak
email re First Trust's redlined comments to
same (.10); review S. Freeman email;
review A. Jarvis email and substantially
revised clause (.20).

09/20/06 J. Hermann Portion of conference call with A. Jarvis 0.20 114.00
and M. Levinson and M. Tucker re plan of
reorganization issues and timing of
amended version of the same.

09/20/06 J. Hermann Telephone conference with M. Tucker and 2.00 1,140.00
M. Levinson in preparation for
negotiations on plan issues and resolution
of claims with unsecured creditors
committee counsel later today and
discussion of all issues likely to come up
at such negotiations (1.20) and second
session of such call (.80).
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09/20/06 J. Hermann Telephone conference with M. Tucker 0.40 228.00
regarding sharing of litigation
management responsibilities with
USACM liquidation trust in preparation
for negotiations on plan issues and
resolution of claims with USACM
unsecured creditors committee counsel
later today.
09/20/06 J. Hermann Participate in lengthy conference call with 2.90 1,653.00

R. Charles, T. Burr, M. Tucker and M.
Levinson and S. Freeman regarding
negotiations on plan issues and resolution
of claims with USACM and myriad
related issues.

09/20/06 M. Levinson Review and analyze lengthy R. Charles 6.20 3,472.00
email memorandum re the treatment of
prepaid interest in the plan (.20); portion
of long telephone conversation with A.
Jarvis, J. Hermann and M. Tucker devoted
to plan status and issues (.20); long
telephone conversation with M. Tucker
and J. Hermann in preparation for the
upcoming calls with the USACM
professionals re plan negotiations (1.20);
another long telephone conversation with
M. Tucker and J. Hermann re the same
(.80); very long telephone conversation
with S. Freeman, R. Charles, T. Burr, M.
Tucker and J. Hermann re numerous plan
issues between USACM and Diversified
(2.90); follow-up conversation with J.
Hermann (.10); review the C. Pajak
proposed revisions to the bid procedures
and her email memorandum re the same
(.20); review the L. Ernce revisions to the
bid procedures and her proposed changes
(.20); lengthy email memorandum to all
hands covering the Diversified
Committee's proposed changes (.30);
review lengthy L. Ernce follow-up email
memorandum re the same (.10).
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09/20/06 L. Ernce Review email from A. Jarvis with debtors' 1.40 651.00

comments to material adverse change
clause; review G. Garman and C. Pajak
emails re same; review A. Jarvis response
and next version of clause (.30); review
next version of bid procedures and
conference with M. Levinson re same
(.20); draft next version of bid procedures
to address Diversified Fund's concerns
(.70); email to M. Levinson re same and
open issues (.10); review M. Levinson
email to other counsel re next version of
bid procedures reflecting Diversified
Committee's comments (.10); email to M.
‘Levinson re clarifications (.10).
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09/21/06 M. Levinson Portion of long telephone conversation 5.20 2,912.00

with B. Olson and A. Loraditch re plan,
bid procedures, overbidder and related
issues, with M. Tucker for large part
(1.00); review C. Pajak and G. Garman
comments to the most recent draft of the
bid procedures (.20); email memorandum
from M. Tucker re plan treatment of
prepaid interest (.10); lengthy email
memorandum to all hands re my thoughts
on their comments and on the bid
procedures generally (.20); telephone
conversation with G. Garman re the same
and re plan issues (.20); telephone
conversation with M. Tucker and J.
Hermann in preparation for the call with
the USACM Committee professionals
(.20); long telephone conversation re bid
procedures and plan issues with R.
Charles, T. Burr, M. Tucker and J.
Hermann (for part) (.60); initial review of
the bid procedures motion circulated by S.
Strong to all hands (.20); review and
analyze this afternoon's version of the plan
term sheet, as circulated by E. Karasik
(.80) review and analyze the E. Monson
email memorandum re the debtors’
proposed fix to the bid procedures order
(.10); email memorandum to J. Hermann
and M. Tucker re my thoughts on the
same, review responsive email
memorandum from J. Hermann and
respond to M. Tucker and J. Hermann
(.20); exchange more follow-up email
memoranda with J. Hermann and M.
Tucker (.20); email all hands re the
position of the Diversified Committee and
review E. Monson email in response
thereto (.20); review G. Garman response
(.10); participate in a chain of email
memoranda with various committee
counsel and A. Jarvis re the notice aspect
of the draft bid procedure (.10); continue
reviewing and analyzing the plan term
sheet, as circulated by E. Karasik (.50);
telephone conversation with J. Hermann re
the same (.30).
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09/21/06 J. Hermann Review and analyze further draft of plan 1.70 969.00
of reorganization term sheet received from
counsel for FTDF and comparison to prior
versions (.60); participate in exchange of
email correspondence regarding the same
(.10); review and analyze materials posted
on FTDF website bearing upon plan of
reorganization issues (.20); participate in
exchange of email correspondence
regarding the same with Diversified
Committee professionals as to treatment of
settlement discussions with Diversified
Fund in connection with the same (.20);
participate in exchange of email
correspondence regarding plan provisions
for bid procedures for sale to Silver Point
among debtor professionals and all
committee professionals (.30); prepare
email correspondence to M. Levinson and
M. Tucker regarding the same (.20);
review and analyze further draft of bid
procedures received from debtors'
professionals (.20).

09/21/06 J. Hermann Telephone conference with R. Charles, T. 0.40 228.00
Burr, M. Tucker and M. Levinson
regarding further discussion of facts
bearing upon substantive issues under
discussion in plan of reorganization
negotiations and related matters.

09/21/06 J. Hermann Telephone conference with M. Tucker and 0.20 114.00
M. Levinson regarding developments and
issues for call with unsecured creditors
committee counsel to negotiate plan
treatment of issues outstanding.
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09/21/06 L. Ernce Review next version of draft bid 1.30 604.50

procedures and emails from G. Garman,
C. Pajak and others re related issues (.30);
conference with M. Levinson re-thinking
inclusion of provisions to allow for sale of
additional assets as part of bid procedures
(.10); review M. Levinson email to other
counsel re Diversified Committee's
revised position on bid procedures (.10);
review further exchanges of emails on bid
procedures from R. Charles, S. Strong and
M. Levinson (.20); review next version of
bid procedures (.20); review further emails
on bid procedures from C. Pajak and G.
Garman (.10); review emails from E.
Monson re next version and review same;
conference with M. Levinson (.20).

09/21/06 L. Ernce Review email from E. Karasik and next 0.40 186.00
version of joint plan term sheet (.20);
review First Trust Deed Fund committee's
summary of transaction with Plan
Proponent No. 2 and exchange emails with
J. Hermann re same (.20).

09/22/06 J. Hermann Telephone conference with M. Tucker and 3.70 2,109.00
M. Levinson regarding term sheet
received from FTDF and Direct Lenders,
issues arising thereunder, strategy for
further negotiations and related issues
(.30); later continuation of such call with
M. Tucker and M. Levinson and with S.
Freeman (for a portion of the call) (1.80);
further continuation of such call with M.
Tucker, M. Levinson, R. Charles and S.
Freeman (1.60).

09/22/06 J. Hermann Review and analyze servicing agreement 0.40 228.00
and LLC operating agreement in
connection with issues bearing upon
entitlement of USACM to receive fees in
connection with negotiations on plan of
reorganization terms.

09/22/06 J. Hermann Review and analyze revised term sheet 0.30 171.00
prepared by R. Charles on plan of
reorganization issues (.20); participate in
exchange of email correspondence with
Diversified Fund professionals regarding
the same (.10).
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09/22/06 J. Hermann Participate in exchange of email 0.50 * 285.00

correspondence with professionals for all
committees and debtors regarding bid
procedures to be incorporated into plan of
reorganization and numerous issues in
connection with the same.

09/22/06 M. Levinson Telephone conversation with M. Tucker 4.20 2,352.00
and J. Hermann re yesterday's version of
the term sheet and re related plan issues
(.30); very long follow-up telephone
conversation with M. Tucker and J.
Hermann, with S. Freeman for large part,
re plan issues (1.80); exchange email
memoranda with various counsel
including G. Garman, re bidding
procedures (.10); long follow-up
conversation with R. Charles, S. Freeman,
M. Tucker and J. Hermann (1.60); review
the exchange of email memoranda
between M. Tucker and Plan Proponent
No. 4 re next steps (.10); exchange a series
of email memoranda with R. Charles, C.
Pajak, G. Garman and A Jarvis re the
treatment in the draft bid procedures of the
participation of the Diversified Committee
and the Direct Lenders Committee (.30).

09/22/06 L. Ernce Review emails from J. McCarroll re 0.50 232.50
revisions to bid procedures (.10); review
E. Monson email and redline of next draft
of bid procedures (.10); review emails
from C. Pajak, G. Garman and R. Charles
re bid procedures issues (.20); review
responses from A. Jarvis and G. Garman
(.10).

09/22/06 L. Emce Review email from E. Karasik re First 0.10 46.50
Trust committee's approval of latest
version of joint plan term sheet.

09/23/06 M. Levinson Initial review of yesterday's version of the 0.60 336.00
plan term sheet, as revised by R. Charles.
09/24/06 M. Levinson Continue reviewing, analyzing and 0.90 504.00

interlineating comments to the September
23rd R. Charles version of the plan term
sheet and the J. Hermann email
memorandum commenting on provisions
thereof that appeared in the September
22nd version (.70); email memorandum to
J. Hermann and M. Tucker re the same
and re next steps (.20).
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09/24/06 J. Hermann Participate in exchange of email 0.20 114.00

correspondence regarding plan of
reorganization issues and latest offer of
settlement received from FTDF with M.
Levinson and M. Tucker.

09/25/06 M. Levinson Telephone conversation with A. Jarvis re 4.30 2,408.00
the plan term sheet and related matters
(.30); telephone conversation with J.
Hermann re the same and re next steps
(.30); review portions of the plan and the
term sheet in preparation for calls later
today (.40); email memorandum to M.
Tucker and J. Hermann re the First Trust
bid and ask (.10); telephone conversation
with M. Tucker and J. Hermann the
foregoing (.70); telephone conversation
with E. Karasik re possible settlement
(.20); telephone conversation with M.
Tucker re the same (.10); telephone
conversation with M. Tucker in
preparation for a call to A. Jarvis re plan
and settlement issues (.10); review brief
email memorandum from R. Goe re Plan
Proponent No. 5 and telephone
conversation with M. Tucker re the same
and re next steps (.10); long telephone
conversation with A. Jarvis and M. Tucker
re next steps (1.20); follow-up
conversation with M. Tucker and C.
Harvick (.20); voicemail message and
email memorandum to E. Karasik re next
steps in the plan negotiation process and
exchange brief follow-up email
memoranda (.10); telephone conversation
with E. Karasik re possible settlement of
plan issues and review brief E. Karasik
follow-up email memorandum (.20);
analysis re next steps, and lengthy email
memorandum to M. Tucker and J.
Hermann re the same (.30).

09/25/06 L. Ernce Review notices of hearings on exclusivity 0.10 46.50
motion and attention to calendaring
various case deadlines.

09/25/06 L. Ernce Review M. Levinson email report on 0.10 46.50
status of his discussions with First Trust
Deed Fund committee on settlement term
sheet and next steps.
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09/25/06 J. Hermann Telephone conference with M. Levinson 1.50 855.00

regarding ongoing negotiations with
FTDF committee on plan of
reorganization, strategy for the same and
related matters (.30); review and analyze
language contained in plan of
reorganization regarding settlement
between Diversified Fund and FTDF and
comparison to language of new proposal
received (.20;) telephone conference with
M. Levinson and M. Tucker regarding the
above issues and actual language received
from counsel for FTDF committee (.70);
participate in exchange of email
correspondence with M. Levinson and M.
Tucker regarding most recent discussions
with E. Karasik on plan negotiations and
strategy for further negotiations (.30).

09/26/06 J. Hermann Telephone conference with M. Levinson 0.50 285.00
and M. Tucker regarding formulation of
counterproposal to FTDF committee for
settlement of litigation claims to be
included within plan of reorganization.

09/26/06 J. Hermann Participate in conference call with M. 0.90 513.00
Levinson and M. Tucker regarding
ongoing negotiations with FTDF
committee and unsecured creditors
committee on plan of reorganization issues
and numerous related matters.

09/26/06 J. Hermann Participate in conference call with A. 0.60 342.00
Jarvis, S. Strong and M. Levinson
regarding fee objections asserted but not
filed by U.S. Trustee, numerous plan of
reorganization issues and issues bearing
upon servicing and collection of Colt
Gateway loans.
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09/26/06 M. Levinson Exchange a series of follow-up email 3.90 2,184.00

memoranda with J. Hermann and M.
Tucker re possibly making a
counterproposal to FTDF (.20); telephone
conversation with M. Tucker and J.
Hermann re the same, leaving voicemail
messages for R. Worthen during the
course of the call (.50); draft
counterproposal email memorandum and
forward it to M. Tucker and J. Hermann
(.20); review M. Tucker and J. Hermann
responsive email memoranda (.10);
telephone conversation with E. Karasik re
the draft counterproposal, finalize the
same and transmit it to E. Karasik (.20);
follow-up email memorandum to M.
Tucker and J. Hermann (.10); telephone
conversation with R. Charles re the status
of plan term sheet negotiations, including
my recent calls with E. Karasik and A.
Jarvis (.30); exchange follow-up email
memoranda with M. Tucker and J.
Hermann (.10); telephone conversation
with E. Karasik and C. Pajak re the next
steps (.40); long telephone conversation
with M. Tucker and J. Hermann re my call
with E. Karasik and C. Pajak re the next
steps in the plan process (.90); telephone
conversation with A. Jarvis, S. Strong and
J. Hermann re plan status, my
conversation with E. Karasik, and next
steps (.60); email memorandum to E.
Karasik re status of a possible new
proposal from the Diversified Committee,
review E. Karasik response and forward
the same to J. Hermann and M. Tucker
(.20); exchange follow-up email
memoranda with M. Tucker (.10).
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09/26/06 L. Ernce Review M. Levinson email reporting on 0.60 279.00

his call with E. Karasik and status of term
sheet settlement proposals; review T.
Lawyer email re same (.10); review M.
Tucker email responding to T. Lawyer
inquiries and analysis (.10); review A.
Loraditch emails re debtors’ motion to
extend exclusivity and inquiry from Plan
Proponent No.4 re same (.10); review
notice of hearing on Silver Point auction
and email to Diversified professionals
(.10); review J. McGimsey email re his
thoughts on term sheet and review S. Katz
email re same (.10); review M. Levinson
report on next version of term sheet (.10).
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09/27/06 M. Levinson Portion of a long telephone conversation 3.50 1,960.00

with M. Tucker and J. Hermann devoted
to plan term sheet issues and next steps
with respect to a possible counterproposal
to the First Trust Committee (.20); prepare
for and participate in telephone
conversation with E. Karasik re issues
relating to a possible counterproposal
(.20); revise the counterproposal and email
it to E. Karasik (.10); telephone
conversation with E. Karasik with her
committee's response to the
counterproposal and re next steps with
respect to the plan (.20); telephone
conversation with M. Tucker re the same
and re a number of other plan-related
issues (.20); telephone conversation with
J. Hermann re the same (.20); telephone
conversation with R. Charles re numerous
plan issues (.40); review and analyze the
counterproposal from the First Trust
Committee forwarded by E. Karasik (.20);
review and analyze the M. Tucker and J.
Hermann email memoranda re their
thoughts on the same (.20); telephone
conversation with M. Tucker and J.
Hermann re the same and re possible
responses thereto (.20); draft a responsive
email memorandum to E. Karasik and
forward it to J. Hermann and M. Tucker
for their comments (.30); review J.
Hermann and M. Tucker comments to the
same (.10); exchange a series of follow-up
email memoranda with J. Hermann and M.
Tucker (.10); telephone conversation with
M. Tucker and J. Hermann re the same
(.20); finalize the email memorandum in
light of those comments and transmit to E.
Karasik (.10); review and analyze E.
Karasik responsive email memorandum
and email J. Hermann and M. Tucker re
the same (.20); review J. Hermann and M.
Tucker email memoranda in response
thereto (.20); portion of long telephone
conversation with A. Jarvis devoted to
plan status and related matters (.20).
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09/27/06 L. Ernce Review email from M. Levinson re status 0.50 232.50

of committee responses to latest term
sheet and J. McGimsey's response to
same; review T. Lawyer comments to
latest term sheet; review M. Levinson
follow-up email to the Diversified
Committee re proposed term sheet (.20);
review latest counterproposal to term sheet
from First Trust Deed Fund committee
and brief conference with M. Levinson re
same and next steps (.20); review M.
Levinson email to Diversified committee
re status of negotiations on term sheet with
First Trust Deed Fund (.10).

09/27/06 J. Hermann Telephone conference with M. Tucker and 0.30 171.00
M. Levinson regarding issues in
connection with ongoing negotiations for
plan of reorganization compromise with
FTDF Committee, collection and servicing
issues on Colt Gateway loans, need to
finalize escrow instructions on Epic loan
matter and related matters.

09/27/06 J. Hermann Participate in exchange of email 0.20 114.00
correspondence with Diversified
Committee professionals and FTDF
committee professionals regarding
counterproposal made by Diversified
Committee and issues bearing upon the
same.

09/27/06 J. Hermann Telephone conference with M. Tucker and 1.90 1,083.00
M. Levinson regarding language of
settlement proposal received from E.
Karasik on plan of reorganization issues
and strategy for counterproposal to the
same (.50); participate in further
telephone conferences with M. Tucker and
M. Levinson formulating language of
counterproposal and negotiating strategy
in general (.90); participate in exchange
of substantive email correspondence
regarding the same with M. Tucker and M.
Levinson (.50).

09/28/06 L. Ernce Exchange emails with M. Tucker and J. 0.30 139.50
Hermann re hearing date on disclosure
statement and related matters (.10); review
notice of disclosure statement hearing
filed today and attention to calendaring
and updating Diversified Committee
website (.20).
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09/28/06 L. Ernce Review portions of revised plan and 0.50 232.50
disclosure statement.
09/28/06 J. Hermann Further review and analyze plan of 0.40 228.00

reorganization term sheet and subsequent
proposals in connection with renewed
negotiations tomorrow on plan issues.
09/29/06 M. Levinson Very long telephone conversation with R. 3.20 1,792.00
Goe, counsel for Plan Proponent No. 5, re
a possible proposal from his client (.50);
follow-up telephone conversation with R.
Goe, M. Tucker and J. Hermann re Plan
Proponent No. 5's interest (.50); initial
review of E. Karasik plan counterproposal
and her email memorandum covering the
same (.20); very long telephone
conversation with M. Tucker and J.
Hermann re the same and re other term
sheet and plan issues (.80); telephone
conversation with E. Karasik re term sheet
issues (.10); long telephone conversation
with M. Kvarda, E. Karasik, M. Tucker
and J. Hermann re resolving the remaining
term sheet issues (.90); exchange email
memoranda with J. Hermann re plan
issues involving USACM (.10); review
email memorandum from A. Loraditch re
letter of intent from Plan Proponent No. 4
and exchange brief follow-up email
memoranda with M. Tucker re the same
(.10).
09/29/06 M. Levinson Review the draft stipulation and order 0.10 56.00
extending confirmation exclusivity and
review the C. Carlyon response thereto.
09/29/06 L. Ernce Review A. Jarvis email re latest version of 0.60 279.00
debtors' plan and review portions of
revised plan (.50); review draft stipulated
order on exclusivity and emails from C.
Carlyon re same (.10).
09/29/06 J. Hermann Review and analyze revised version of 1.30 741.00
plan of reorganization and disclosure
statement received from debtor counsel in
connection with ongoing plan of
reorganization negotiations and plan
treatment of Diversified Fund.
09/29/06 J. Hermann Participate in conference call with E. 0.90 513.00
Karasik, M. Kavarda, M. Tucker and M.
Levinson regarding negotiation for
consensual resolution of plan treatment of
two funds and numerous related issues.
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09/29/06 J. Hermann Telephone conference with M. Tucker and 0.50 285.00

M. Levinson regarding aspects of plan
settlement proposal received from counsel
for FTDF Committee and numerous
related issues.
09/29/06 J. Hermann Telephone conference with M. Levinson 0.50 285.00
and M. Tucker regarding results of
negotiations with FTDF professionals,
upcoming negotiations with USACM
representatives, interaction between
treatment of the two and numerous plan
related matters.
09/29/06 J. Hermann Participate in conference call with E. 1.30 741.00
Karasik, M. Kavarda, M. Tucker and M.
Levinson regarding negotiations on
treatment of Diversified Fund in plan of
reorganization and mechanics of
provisions for FTDF to make a loan to
Diversified Fund (.90); review and
analyze further revised version of term
sheet received from E. Karasik dealing
with changes discussed (.40).
09/29/06 J. Hermann Telephone conference with M. Levinson 0.80 456.00
and M. Tucker regarding further
negotiations on term sheet with FTDF and
issues regarding workings of current draft
of the same.
09/29/06 L. Ernce Review emails from A. Loraditch and M. 0.10 46.50
Tucker re letter of intent from Plan
Proponent No. 4 (.10).
09/30/06 M. Levinson Initial review of the revised draft of the 0.20 112.00
plan term sheet forwarded today by E.
Karasik.

B320 — Plan and Disclosure Statement (including Business Plan) Total 141.20 78,076.00

Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 16.00 465.00 7,440.00
Jeffery D. Hermann 52.40 570.00 29,868.00
Marc A. Levinson 72.80 560.00 40,768.00

Total All Timekeepers 141.20 $552.95 $78,076.00
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Task B503 — Litigation

09/01/06 L. Ernce Review debtors’ motion to amend 0.30 139.50
distributions protocols and email memo to
Diversified Committee investors re same.
09/04/06 M. Levinson Initial review of the draft fraudulent 0.30 168.00
transfer complaint prepared by Lewis and
Roca and circulated to certain counsel for
direct lenders, and email memorandum re
the same to Diversified Fund professionals
(.20); review M. Tucker email
memorandum re the same and telephone
conversation with M. Tucker (.10).
09/04/06 L. Emce Review M. Levinson email and draft 0.50 232.50
complaint by USACM unsecured creditors
committee for return of diverted principal.
09/05/06 M. Levinson Review S. Freeman email memorandum 0.20 112.00
covering the USACM's draft fraudulent
transfer complaint and review B. Olson
email memorandum commenting on the
draft complaint and on related issues.
09/05/06 J. Hermann Review and analyze fraudulent 0.90 513.00
. conveyance complaint prepared by
counsel for the USACM unsecured
creditors committee (.30); review and
analyze case authorities bearing upon
essential allegations of the same (.50);
participate in exchange of email
correspondence with Diversified Fund
professionals regarding the same (.10).
09/07/06 L. Emce Review opposition to modification of 0.20 93.00
distribution protocols filed by C.
Cunningham and email to Diversified
Committee professionals re same.

09/08/06 L. Emce Review Highland Capital's response to 0.10 46.50
motion to amend protocol for continued
distributions.

09/11/06 M. Levinson Review notice of hearing on the form of 0.10 56.00
order approving continuing distributions.

09/11/06 J. Hermann Review and analyze direct lender pleading 0.20 114.00

regarding debtors motion to make regular
distributions.
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09/12/06 L. Ernce Review S. Strong email and debtors’ 0.30 139.50

comments to unsecured creditors
committee's proposed order on interim
distributions; review USACM unsecured
creditors committee comments to same
and review further emails from S. Strong
and R. Charles.
09/13/06 J. Hermann Review and analyze statement of 0.60 342.00
Diversified Fund redemptions and sale for
2005 and 2006, consider and analyze
issues bearing upon potential avoidability
of redemptions occurring before
bankruptcy filing at full value and
participate in exchange of email
correspondence regarding the same.
09/13/06 L. Emce Review email from R. Olson and portions 0.30 139.50
of legal memorandum prepared by his
firm on recharacterization issues; review J.
Hermann email re same.

09/22/06 L. Ernce Review First Trust committee's motion to 0.20 93.00
compel disclosure of confidential
information.

09/25/06 M. Levinson Review tonight's version of the order 0.20 112.00

approving interim distributions and the C.
Pajak and R. Charles email memoranda re
the same, and email to all hands re the

approval of the Diversified Committee of

the same.

09/25/06 L. Ernce Review R. Charles email and revised 0.10 46.50
proposed order on continuing
distributions.

09/27/06 M. Levinson Review M. Tucker email memorandum to 0.10 56.00

S. Smith re resolving the final piece of the
distribution motion (relating to the
remaining $2.9 million of commingled
funds received prior to the petition date).
09/27/06 L. Emce Review emails from counsel for JV 0.10 46.50
lenders and First Trust Deed Fund
committee re form of order on motion to
compel debtor to forward lender
payments.

B503 — Litigation Total 4.70 2,449.50
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Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 2.10 465.00 976.50
Jeffery D. Hermann 1.70 570.00 969.00
Marc A. Levinson 0.90 560.00 504.00

Total All Timekeepers 4.70 $521.17 $2,449.50
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Task B504— EPIC Loan

09/13/06 J. Hermann Review and analyze marketing agreement 0.30 171.00
for Epic condominia in connection with
issues bearing upon possible forms of
recordation to be made against property.
09/13/06 J. Hermann Further consider and analyze issues 0.90 513.00
bearing upon means of encumbering title
to Epic property and participate in
exchange of email correspondence
regarding the same.
09/13/06 J. Hermann Review and analyze correspondence from 0.90 513.00
Riverside recorders office rejection
proposed filing as to Diversified's interest
in Epic property and consider and analyze
issues in connection with the same (.30);
multiple conferences with M. McAndrews
and Ms. Moletto regarding means of
accomplishing encumbrance upon title and
numerous related matters in connection
with the same (.60).
09/13/06 M. McAndrews Confer with J. Hermann regarding 0.60 372.00
alternatives (.30); additional research on
recordation issues (.20); review brokerage
agreement (.10).
09/13/06 M. Levinson Telephone conversation with J. Hermann 0.20 112.00
re the refusal of Riverside County to
record the Acknowledgement of Interest
document and re next steps in light of the
same.
09/15/06 M. McAndrews Confer with J. Hermann regarding title 0.70 434.00
clearance and notice issues (.20); review
draft escrow instructions in connection
with same (.30); review related transaction
documents (.20).
09/17/06 M. McAndrews Review exclusive listing agreement 0.80 496.00
regarding hotel sale and condominium
releases (.40); confer with J. Hermann
regarding additional research (.20);
prepare commentary on escrows (.20).
09/18/06 J. Hermann Further review and analyze documentation 0.20 114.00
and participate in exchange of email
correspondence regarding rejection for
filing of acknowledgement of interest by
Riverside county recorder.
